Case 6:19-cr-00074-PGB-GJK Document 31 Filed 05/20/19 Page 1 of 3 PageID 62




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

  UNITED STATES OF AMERICA

  v.                                     CASE NO. 6:19-cr-74-Orl-40DCI

  LESLIE MUNIZ

              NOTICE OF PENDENCY OF OTHER ACTIONS

        In accordance with Local Rule 1.04(d), I certify that the instant action:

  ☒     IS           related to pending or closed civil or criminal cases
                     previously filed in this court, or any other Federal or State
                     court, or administrative agency as indicated below:

                     U.S. v. Rebeca Pabon 6:18-cr-7-Orl-31TBS

  ☐     IS NOT       related to any pending or closed civil or criminal case filed
                     with this Court, or any other Federal or State court, or
                     administrative agency.
Case 6:19-cr-00074-PGB-GJK Document 31 Filed 05/20/19 Page 2 of 3 PageID 63




           I further certify that I will serve a copy of this Notice of Pendency of

  Other Actions upon each party no later than eleven days after appearance of the

  party.

  Dated: May 20, 2019

                                            Respectfully submitted,

                                            MARIA CHAPA LOPEZ
                                            United States Attorney


                                       By: /s/ Chauncey A. Bratt
                                           CHAUNCEY A. BRATT
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Case 6:19-cr-00074-PGB-GJK Document 31 Filed 05/20/19 Page 3 of 3 PageID 64




  U.S. v. LESLIE MUNIZ                            Case No. 6:19-cr-74-Orl-40DCI

                           CERTIFICATE OF SERVICE

         I hereby certify that on May 20, 2019, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system which will send a

  notice of electronic filing to the following:

         William Santana, Esquire




                                             /s/ Chauncey A. Bratt
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